           Case 5:19-cv-00263-H Document 1 Filed 12/06/19                        Page 1 of 18 PageID 1
                                                                                            U. . DJ j i ift.
    'KISONER S CIVIL RIGHTS COMPLAINT (Rev. 05/2015)
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                                                 XLER _ DIVISION                          3 / DIST. O 0:T
   TH ODORE STREATER #1430922
  PitiimilTs Name and II) Num er

  TDCJt,GID.,SMITH„UNIT
  Place of Conllnement
                                                                              6:19CV583
                                                                           CASE     NO  JDK/KNM
                                                                                       (Clerk will as ign lire number)
  v    42 U.S.C. 1983
  T OPTF D VIS, P.0 Bo 99,Huntsville,TX 2 U.S.C, 12132
  Jill* 1               1 ; :'l           :              29 U.S.C. 794
  Defi'iiciani s Name and Address 42 U.S.C, 2000bb ,cc
  WARDEN A. GONZ LEZ,1313 CR 19,Lamesa,TX 79331
 Dele i nlT Name and Address                                         JU Y T IAL DEMAND

 CAPTAIN MILL R., K.XM 1.313 C 19 , La mesa , TX 79331
 DcfendanCs Name and A ress
 ( DO NOT USE ET ALT)

                                      I Nir RU CT IONS JIrE DCAREFULLY
 NOTICE:

 Vour com laint is subject to dismissal u less it confor s to these instructions an this f r .

 I. To start air action you must file an origin l and one copy o your complaint, with the court. You should keep
 a copy of the complaint or your own records.


2. Your complaint must be jogjhly han written, in ink, or typewritten. You, the plaintiiT, must sign an decl re
under enal tyof perjury that the,facts are correct. If you need additional space., DO NOT USE THE REVERSE.
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3, You ust file a separate complaint for eac claim you have.unless t e various claims are all related to t e same
 ncident or issue or are all against the same defen ant, Rule 18, Fe e al Rules of Civil Procedu e, Make a short and
plain statement of your claim, Rule 8. Fe eral ules of Civil Procedu e.

4. When these forms are completed, m il he o iginal and one co y to the clerk of the United States d strict court
foi the approp iate district of Texas in the ivisio where one or .more na ed efendants are located, or where he
incident, giving rise to your claim for relief occurred. If ou are confined in the Texas Department of Criminal
Justice, Co rectional Institutio s Division (TPCKCID),, the list labele as VENUE Lis is posted n your unit
law lib ary, It. is a list of the 1 exas prison units in icating the a p opriate district court, the division and an add e s
list of the divisional clerks.



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Def ndants continue from previous pa e


4. Kitchen Officer Flores, 1313 CD 19, Lamesa,TX 79331

5. Classification Mrs. Harris, 1313 CR 19, Lame3a,TX 79331

6. Chaplain Earnest, 1313 CR 19, Lamesa,TX 79331

7. Mr. Jimenez, 1313 C 19, La esa,TX 79331

8. Mrs. eimer, 1313 CR 19, Lamesa,TX 79331

9. Ms. ebber, 1313 CR 19, La esa,TX 79331

10. Mr. Rosiles, 1313 CR 19, Lamesa,TX 79331

11. Sgt. K. Vasquez, 1313 C 19, Lamesa,TX 79331

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m
12. Major E. Cueto, 1313 C 19, Lamesa,TX 79331

13. Lt. Aynas, 1313 CR 19, Lamesa, TX 79331

1   S t. CR 19, Lamesa, TX 79331

15. S t. E ards, 1313 C 19, Lamesa,TX 79331

18. Five Unkno n Offic r ., 1313 CR 19, Lamesa,TX 79331




                                 Ka)
             Case 5:19-cv-00263-H Document 1 Filed 12/06/19                   Page 3 of 18 PageID 3

  fiJNC; F E AN1> IN FORMA PA PERIS (IFF)

I, In order Cor your complaint to be tile , it mu t be accom anied by the statutory filing fee of $350,00 plus an
a mi istrative fee of $50,00 for a total fee of S400. 0.

    1 ('yo do not have the necessary (finds t pay the ee in full at this time, you may equest permis ion to roceed
i forma p uperis, In this event you must complete the application to roceed i forma pauperis setti g forth
in ormation to establish your inability to p epay the fees and c sts or ive security therefor, You must al o nclu e
a current six-month history of your inmate trust acc unt. If y u are an inmate in TDCJ-CID, you can acquire the
a lication t proceed in for a pauperis and th certificate of inmate tru t ccount, also known as in forma
pa peris data sheet, from t e l w library t y ur p ison unit.

      he Pr son Lit gation Reform Act of 1995 (Pl.RA) r vides if a prisoner bring a c vil acti or files an
ap eal in forma paujK ris, the prisoner hall be requi ed to pay the ull a ount           a iling fee,     ee 28 U.S.C.
§ 1915, Thus, the court i require to a sess and, when f n s exi t, collect, the entire filing fee or an initial artial
filin fee and monthly in tallment until the entire amount of the filing fee has been paid by the prisoner. I f you
submit the a plication to proceed in forma pa peris the court will ap ly 28 U.S.C. § 1 15 and, if ap r iate,
asses and collect the cm ire tiling lee or an initial partial fili g ice, then monthly installments ro your maie ist
acc unt, until the entire $350.()() tatutory filin fee has been paid. (The $50.00 administrative fee docs not ap ly
to case proceeding in for        pauperis.)

d. If you inten to eek in forma pauperi status, do not send your complaint without an application to proceed
in fo ma pa peris and the certificate o inmate trust account. Complete all essential paperwork be ore submitting
i; to the court,


CHANGE OF ADDRESS

It is you responsibility to inform the court of any change o address and its effective date. Such notice should be
marke NOTICE TO T E COURT OF C ANGE OF ADDRESS and shall not include ny motion for any
oilier relief Fa lure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismis al
of your co plaint pursuant to Rule 41(b), Federal Rules of C vil Proce ure.


I, PREVIOUS LAWSUITS:
        A.        ave you filed any other lawsuit in tate or federal court relating to your im ison ent? NO
        B,   If you ans er to "AC is yes, describe each law uit in the space below. (If there is more than one
              lawsuit, describe the additional lawsuits on another piece of paper, giving the same information,)

                      proximate date of fifing la suit: UOfNePpsa/P)
             •>
                   Parties to previous lawsuit:

                    laintif )    ..azx z sr.

                   Defendant(s)                                   .    .    En&               .    r-sgC CO/

             3.    C urt: (If ederal, name the distr ct; if state, name the county.) -
             4,    Cause                  number:

             5.    Name of judge to whom case was assigned:

             6,    Disposition: (Wa the case dismissed, appealed, still pending?) ///
             7,    Appro imate date of disposition                                             /

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ill. EXHAUSTION (..)!' GRIEVANCIi I'ROCT'OUR.ES: unati/ax lc*4>ie
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IV. PARTIES TO THIS S IT:
     A. Name an                         address of plaintifI:.. T ii
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     B. Full name of each defendant, his official posit on, his place of employment, and his lull maili g addres .
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        Violobo ix-/ { k/B k l            < \JS, C ii t        tPAf e         4 J M&PA.
        Briefly de cribe the act(s) oj' omtssio (s) of tfiis defendant hich you clai ed har ed you.




        Briefly describe t e act(s) or mission(s) of this defendant which you clai ed Inarmed you.

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        Defendant tH: |_ t                     Uej!}...O.           e      .t .   L3J3-C . Aa fificy

          X 1933/
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        Briefly describe the aci(s) r mission(s) of this defendant which you claimed harmed you,

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VI. R FUFF:
     State b ie fly exactly hat you want the court t d tor y u. Make no legal arg ments, Cite no cases o
     statutes.




VIT GENERAL BACKGROUND INFORMATION:
     A. State, in complete form, all names you have ever used or been known by including any and all aliases.




     If. Li t all TDCJ-CID i entification nu bers you have ever been assigned and ll other stale or federal
        prison or FBI numbers ever assigned to you.




VIII. SANCTION :
     A, Have you been sanctioned by any court as a result of a lawsuit you have filed? YES MO
     B. If your answer is yes, give the follo ing information for every lawsuit in which sanctions were
         imposed. (If more than one, use anothe piece of paper and answer the same question .)

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        A Case n mb r:

        f. Approximate dale sanctions were jmpo ed:

        4. Have the sanctions been lifted or otherwise satisfied? / NO

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          . I las any court, ever warned or notified you that sanctions could he im osed?           YRS       NO

        f ). U'your answer is yes, ive the followinginformalion f r every law uit in whieli a wa nin was issued.
           (If more than one, se a not Iter piece of pa er an answer the ame questions.)

            1, Courlthat ssued warning (i fe eral, give the district and d vi ion):
           2,       Case                 number:                        ¦

           3, Approximate date arning was is ued:




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        1 I declare un er penalty of erjury all fads p esented in this complaint an attachments thereto are true
           and correct.
       2. 1 understan , if) am released or transferred, it is rny responsibility to keep the court informed of my
           current mailing ad re s and failure to d so may result in the dismis al of thi la suit,
       3. 1 understand I mu t exha st all available administ ative emedies pri to filing his lawsuit.
       4. ! understan 1 am p h bited fr m bringing an in forma pauperis law uit i ! have brought three or more
            civil action r a peal (from a judgment n a civil action) n a court of the United States hile
             inca cerated or detained in any facility, h ch lawsuits were dismissed on the ground they were
            frivolou , malicio s, or failed to st le a cla m upon which relief may be gr nted, unless I am under
            imminent anger of erious physical injury.
       5. f understand even if I am allowed to proceed withoutprepayment of costs, I am resp nsible for the enti e
            filing fee an co ts a sesse by the court, h ch shall be educted in accordance ith the la from my
            inmate trust account by my custodian until the filing fee is pai .




WARNING: Plaintiff is advise any false or eliberately misleading tiiformafsoii provide in res onse to the
above questions may res lt in the im osition of sanctions. The sanctions the co rt may im ose include, but
are not limited to, mo etar sanctio s and the dis issal of this action with rejudice.




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